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        In the United States Court of Federal Claims
   * * * * * * * * * * * * * * * * ** *
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  PAUL AND TAMMY VINCENT,             *
                  Plaintiff,          *
                                      *
           v.                           Nos. 15-1253; 15-12537L
                                      *
                                        Filed: September 28, 2018
                                      *
  UNITED STATES,                      *
                  Defendant.          *
                                      *
   * * * * * * * * * * * * * * * * ** *
                                  ORDER

       The court is in receipt of the parties’ joint stipulation to dismiss certain above-
captioned plaintiffs’ claims in the case of Flying S. Land Co., et al. v. United States, Case
No. 15-1253L. The claims associated with the above-captioned plaintiffs are, hereby,
SEVERED from the case of Flying S. Land Co., et al. v. United States, Case No. 15-
1253L, and shall be reorganized, for case management purposes, into the above-
captioned case, Paul and Tammy Vincent v. United States, and assigned Case No. 15-
12537L. The court DISMISSES WITHOUT PREJUDICE the property claims of Paul and
Tammy Vincent. As there is no just reason for delay, the Clerk’s Office shall enter
immediate JUDGMENT consistent with this Order, pursuant to RCFC 54(b). As the Order
disposes of all properties of the named plaintiff, Case No. 15-12537L shall be CLOSED.
Neither the dismissal of the claims of the plaintiffs herein nor the entry of judgment by the
Clerk’s Office shall affect this court’s jurisdiction over the remaining plaintiffs and
properties in the case of Flying S. Land Co., et al. v. United States, Case No. 15-1253L.


       IT IS SO ORDERED.
                                                      s/Marian Blank Horn
                                                      MARIAN BLANK HORN
                                                               Judge
